UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
Carl T. Semencic,

                    Plaintiff,
                                               18-cv-5244 (NRM) (AYS)
              v.
                                               VERDICT SHEET
The County of Nassau, The Nassau
County Police Department,
Commissioner Patrick J. Ryder, Police
Officer Robert B. McGrory and Police
Officer Kenneth J. Magnuson, and John
Doe #1, in their individual and official
capacities,
                    Defendants.




                         Excessive Force (§ 1983/Federal)
1. Did the plaintiff prove by a preponderance of the evidence that Robert B.
   McGrory used excessive force against him on July 19, 2016?
       Yes ______    No ______
2. Did the plaintiff prove by a preponderance of the evidence that Kenneth J.
   Magnuson used excessive force against him on July 19, 2016?
       Yes ______    No ______


                           False Arrest (§ 1983/Federal)
3.   Did the plaintiff prove by a preponderance of the evidence that Robert B.
     McGrory falsely arrested him on July 19, 2016?
       Yes ______    No ______
4.   Did the plaintiff prove by a preponderance of the evidence that Kenneth J.
     Magnuson falsely arrested him on July 19, 2016?
       Yes ______    No ______



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                 Unlawful Search and Seizure (§ 1983/Federal)
5.   Did the plaintiff prove by a preponderance of the evidence that Robert B.
     McGrory effected an unlawful search and seizure at the plaintiff’s home on July
     16, 2019?
       Yes ______   No ______
6.   Did the plaintiff prove by a preponderance of the evidence that Kenneth J.
     Magnuson effected an unlawful search and seizure at the plaintiff’s home on
     July 16, 2019?
       Yes ______   No ______


                                  Assault (State)
7. Did the plaintiff prove by a preponderance of the evidence that Robert B.
   McGrory, Kenneth J. Magnuson, or any other officer employed by the Nassau
   County police department is liable for assault?
       Yes ______   No ______


                                  Battery (State)
8. Did the plaintiff prove by a preponderance of the evidence that that Robert B.
   McGrory, Kenneth J. Magnuson, or any other officer employed by the Nassau
   County police department is liable for battery?
       Yes ______   No ______


                                False Arrest (State)
9.   Did the plaintiff prove by a preponderance of the evidence that Robert B.
     McGrory, Kenneth J. Magnuson, or any other officer employed by the Nassau
     County Police Department is liable for false arrest?
       Yes ______   No ______




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                          Malicious Prosecution (State)
10. Did the plaintiff prove by a preponderance of the evidence that Robert B.
    McGrory, Kenneth J. Magnuson, or any other officer employed by the Nassau
    County Police Department is liable for malicious prosecution?
      Yes ______    No ______


                             Abuse of Process (State)
11. Did the plaintiff prove by a preponderance of the evidence that Robert B.
    McGrory, Kenneth J. Magnuson, or any other officer employed by the Nassau
    County Police Department is liable for abuse of process?
      Yes ______    No ______


If you answered “No” to all of the Questions 1–11, your deliberations are complete.
If you answered “Yes” to any of Questions 1–11, then please proceed to Questions 12–
14.


                                    DAMAGES
12. Compensatory Damages: Please state the total amount, if any, of
    compensatory damages that the plaintiff is entitled to recover.
    $____________________


13. Punitive Damages: Did you answer “Yes” to any of these questions: Questions
    1, 2, 3, 4, 5, and/or 6?
             Yes ______    No ______


14. If your answer to Question 13 is “yes,” please indicate in the space provided the
    amount of punitive damages, if any, you choose to award against the
    defendants below.
    Note: you may only award punitive damages against a defendant if you
    answered “yes” as to that particular defendant to at least one of Questions 1, 2,
    3, 4, 5, or 6.


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      $__________________ against Robert B. McGrory
      $__________________ against Kenneth J. Magnuson


You have finished your deliberations. Please have your foreperson sign
and date this verdict form and inform the Court, with a written note, that
you have reached a verdict.


__________________________________, Foreperson
Dated: March _____, 2025




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